                                                                             Page 1 of 14


            IN THE UNITED STATES DISTRICT COURT FOR THE
                   NORTHERN DISTRICT OF FLORIDA
                        PENSACOLA DIVISION


SE PROPERTY HOLDINGS, LLC,
as successor by merger with Vision Bank,
      Plaintiff,

vs.                                          Case No.: 3:15-cv-00554-MCR-EMT

RUPERT PHILLIPS, HCB FINANCIAL
CORP., and PHILLIPS CAPITAL
PARTNERS, INC.,
     Defendants.
____________________________________/

                    REPORT AND RECOMMENDATION

      This cause is before the court on Defendant Rupert Phillips’ Verified Motion

to Disqualify Plaintiff’s Counsel and Incorporated Memorandum of Law (ECF No.

20), to which Plaintiff has filed a Memorandum in Opposition (ECF No. 31).

Defendant then filed a Reply Brief (ECF No. 35). This matter was referred to the

undersigned to conduct any evidentiary or other proceedings as necessary and to enter

a Report and Recommendation as to the disposition of the motion (ECF No. 37). To

that end, a hearing was held on May 5, 2016, which was limited to oral argument

solely on the issue of whether Defendant had waived his right or opportunity to

present the motion. For reasons stated herein, I will recommend that the motion be

denied on grounds of waiver.
                                                                                              Page 2 of 14


BACKGROUND

         The factual backdrop to this motion necessarily includes consideration of the

events and circumstances in a predecessor case, SE Property Holdings, LLC, v. HCB

Financial Corp., Case 3:13cv6/MCR/CJK (“previous action”).1 Defendant Phillips

was not a party to the previous action, but Plaintiff here, SE Property Holdings, LLC

(“SEPH”) was. SEPH was represented by the law firm of Baker & Hostetler LLP

(“Baker”) in both the previous action and in the instant case.

         The previous action was first filed in state court in August of 2012, against

GulfSouth Private Bank (“GulfSouth”) as the originating bank in a participated loan,

in which SEPH, as successor in interest from Vision Bank, was a participating bank

holding a 44.90% interest. SEPH claimed that, after the loan defaulted, GulfSouth

foreclosed on the secured property and obtained a deficiency judgment for the

remaining amount, but it was not making any further collection efforts in order to

distribute further proceeds among the other participating banks. The matter was then

removed to this court by the FDIC as Receiver for GulfSouth on January 14, 2013.

SEPH subsequently discovered that GulfSouth had assigned the Deficiency Judgment


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     The court takes judicial notice of its own records. See Fed. R. Evid. 201(b); McDowell Bey v. Vega,
588 Fed. App'x 923, 926-27 (11th Cir. 2014); Mangiafico v. Blumenthal, 471 F.3d 391, 398 (2d Cir. 2006);
In re Salem, 465 F.3d 767, 771 (7th Cir. 2006); Dawson v. Mahoney, 451 F.3d 550, 551 (9th Cir. 2006);
United States v. Mercado, 412 F.3d 243, 247–48 (1st Cir. 2005).

Case No: 3:15-cv-00554-MCR-EMT
                                                                                  Page 3 of 14


to HCB Financial Corporation (“HCB”), which had also obtained the assignment of

all the other participating bank interests. Thus, on January 28, 2013, SEPH amended

its complaint to add HCB as a defendant. The amended complaint identified Phillips

as a current and/or former officer and director for HCB. On August 13, 2013, SEPH

again amended its complaint because of newly discovered evidence relating to the

heightened degree of Phillips’ affiliation with and control over HCB, and also the fact

that Phillips was a judgment debtor who was personally involved with the assignment

of the deficiency judgment to HCB. The second amended complaint also alleged that

Phillips was the current chairman of HCB and was also the President and Director of

Phillips Capital Partners, Inc., (“Phillips Capital”) the “parent” corporation of HCB.

         SEPH related that Phillips’ involvement became apparent after Phillips

appeared at the July 31, 2013, mediation conference as the sole representative of

HCB. Phillips was subsequently deposed on November 5, 2013, by SEPH, with

Denis Durkin, an attorney with the Baker law firm, doing the questioning. When

discussing during the deposition why HCB was “reactivated,” Phillips stated:

         Actually I think we reactivated in 2009. In 2007, when the real estate
         collapse happened, I hired – we actually hired your firm and hired
         Berger Singerman to represent us because we thought we were going to
         have to file for bankruptcy because of Olson and Associates. I put my
         life savings into the real estate business, and it was the wrong time to do


Case No: 3:15-cv-00554-MCR-EMT
                                                                                  Page 4 of 14


         it. So in 2007, I thought I was going bankrupt; and narrowly escaped it,
         still may not have escaped it, so still – still could be problematic.

(ECF No. 31-2 at 11 (Phillips Dep. at 8)).

         Phillips also provided testimony during his deposition as to the ownership

structure and financial dealings of both HCB and Phillips Capital. SEPH eventually

asserted as part of its case in the previous action that Phillips maintained full control

and authority over HCB and its decisions regarding the Deficiency Judgment and that

for all intents and purposes, Phillips was HCB.

         A bench trial was held in the previous action in March of 2015. Phillips was

subpoenaed to testify and was questioned by counsel for SEPH, Brandon Crossland,

an attorney at Baker. On September 24, 2015, the Court issued its decision. As is

relevant here, the order stated:

         HCB argues that the Court should be mindful of its separate corporate
         legal status, which is distinct from Phillips personally, who is not an
         officer. The evidence shows, however, that Phillips, undoubtedly a
         savvy dealmaker, took control of HCB and directed its actions when it
         served his interests to do so, despite the fact that he was not an officer.
         For example, it is undeniable that Phillips used HCB to settle his own
         liabilities and to protect the financial interests of his family because it
         is a separate entity. Even in this litigation, although HCB is the
         defendant, Phillips has continued to exercise control, advising HCB to
         settle the litigation and appearing as HCB’s corporate representative in
         a mediation. HCB’s separate corporate identity does not insulate it from
         a conflict of interest where Phillips has exercised unlimited control over
         the corporation. Because the VB Participation Agreement creates a

Case No: 3:15-cv-00554-MCR-EMT
                                                                                Page 5 of 14


         fiduciary relationship between the Originating Bank and Participating
         Bank, HCB’s irreconcilable and undisclosed conflict of interest in being
         controlled by a judgment debtor precludes it from fulfilling the
         obligations of the Originating Bank, and the assignment of this status to
         HCB was therefore contrary to public policy and is voidable.

(Case 3:13cv6/MCR/CJK, ECF No. 353 at 18) (emphasis supplied).

         The court went on to conclude:

                The Court finds that HCB’s conduct of negotiating with GulfSouth
         through Phillips for the purpose of gaining control over the collection
         process and preventing SE Property from obtaining a pro rata
         assignment of the judgment from GulfSouth constitutes intentional and
         unjustifiable interference with SE Property’s fiduciary relationship with
         the Originating Bank, which was its agent with respect to the judgment.
         Phillips, a judgment debtor, used HCB to interfere with SE Property’s
         relations with GulfSouth and to obtain a result, i.e., control of the
         judgment collection process, that he otherwise could not have lawfully
         obtained for himself.

(Case 3:13cv6/MCR/CJK, ECF No. 353 at 23) (emphasis supplied).

         On December 15, 2015, SEPH filed the instant cause of action against

Defendants Phillips, HCB and Phillips Capital, claiming among other things that

Phillips used HCB as an instrumentality to shield himself from any collection on the

note and that SEPH should be able to reverse pierce the corporate veil of Phillips

Capital and HCB to help recover on the debt. The complaint was served on Phillips

on January 11, 2016, and he filed the instant motion to disqualify on February 1,

2016.

Case No: 3:15-cv-00554-MCR-EMT
                                                                                 Page 6 of 14


         This motion is predicated upon Phillips’ involvement as a manager for Olson

& Associates of NW Florida, Inc. (“O&A”), a company doing real estate development

business in Florida. As Phillips describes it, O&A financed its operations generally

by borrowing funds from local banks, and typically Phillips and another manager,

Rick Olson, guaranteed those loans. In 2007, O&A encountered financial difficulties

to the degree that Phillips and Olson might become personally exposed to significant

liability on the bank loans. In an attempt to “work out” these loans with the lenders,

Olson and Phillips hired a legal team that included the Baker law firm as well as the

law firm of Berger Singerman LLP, which represents Phillips in this lawsuit.

         As Phillips relates in his motion, Baker was privy to confidential information

and communications regarding both his financial interests as well as those of O&A.

Phillips further contends:

                By 2008 almost 10 lawsuits had been filed against O&A and
         which implicated Phillips and Olson’s financial interests and liabilities.
                Baker was actively involved in several of those many litigations
         as counsel for Olson and O&A, alongside Phillips and his counsel, as
         part of a common defense consortium. Baker (and its clients Olsen
         and/or O&A) freely cooperated with Phillips and his counsel in the
         common defense of these litigations; Baker filed many pleadings and
         papers in common with Phillips and his counsel. E-mail traffic among
         Baker and Phillips’ counsel covered many strategic points, including
         proposed settlement terms to be offered by the cooperating defendants
         to various lenders suing them.


Case No: 3:15-cv-00554-MCR-EMT
                                                                                Page 7 of 14


ECF No. 20 at 5. Phillips states that Baker’s involvement in this capacity extended

into 2010.

         Thus, Phillips describes the above as “a classic example of a joint defense

arrangement” which has created a disqualifying conflict because the confidential

information gained by Baker, who is now opposing counsel in the case at bar.

         In response, SEPH asserts that, as far back as July of 2013, when Phillips

participated in mediation in the previous action, or at least since Phillips’ deposition

in November of 2013, Phillips was aware of Baker’s representation of SEPH and

therefore the conflict. SEPH therefore contends that Phillips’ failure to pursue

Baker’s disqualification in 2013 or otherwise during the previous action constitutes

a waiver of his right to do so in the instant case.

ANALYSIS

         In keeping with the ethical rules of the American Bar Association’s Code of

Professional Responsibility, whenever an attorney opposes a former client, that

attorney may be subject to disqualification when 1) the former client once held an

attorney-client relationship with the opposing attorney and 2) matters relevant to the

pending suit are substantially related to the matters taken up during the attorney’s

previously representation of the former client. Cox v. Am. Cast Iron Pipe Co., 847


Case No: 3:15-cv-00554-MCR-EMT
                                                                               Page 8 of 14


F.2d 725, 728 (11th Cir. 1988). As is also relevant here, the former client may waive

his right to seek disqualification, and waiver may also be implicitly found “where the

former client, having every opportunity to do so, fails to object to a new relationship

involving its former attorney.” Id. at 731 (quoting In re Yarn Processing Patent

Validity Litigation, 530 F.2d 83, 90 (5th Cir. 1976)). Since failure to make a timely

waiver may result in a waiver, ‘[a] motion to disqualify should be made with

reasonable promptness after a party discovers the facts which lead to the motion.” Id.

at 729 (quoting Jackson v. J.C. Penney Co., 521 F. Supp. 1032, 1034-35 (N.D.Ga.

1981)).

         Analysis of whether a party has waived its right to object to the opposing

party’s counsel should consider the following factors: 1) the length of the delay in

bringing the motion to disqualify; 2) when the movant learned of the conflict; 3)

whether the movant was represented by counsel during the delay; 4) why the delay

occurred; and 5) whether disqualification would result in prejudice to the nonmoving

party. In re Jet 1 Center, Inc., 310 B.R. 649, 654 (M.D. Fla. 2004) (citing Alexander

v. Primerica Holdings, Inc., 822 F. Supp. 1099, 1115 (D.N.J. 1993)); see also INA

Underwriters Ins. Co. v. Nalibotsky, 594 F. Supp. 1199, 1204 (D.C. Pa. 1984)

(finding waiver “when a former client was concededly aware of the former attorney's


Case No: 3:15-cv-00554-MCR-EMT
                                                                                Page 9 of 14


representation of an adversary but failed to raise an objection promptly when he had

the opportunity”).

         Special consideration should also be given to situations where the motion was

delayed for tactical reasons. Jet 1, 310 B.R. at 654; see also Richardson-Merrell, Inc.

v. Koller, 472 U.S. 424, 105 S.Ct. 2757, 86 L.Ed.2d 340 (1985) (“We share the Court

of Appeals' concern about ‘tactical use of disqualification motions' to harass opposing

counsel”); Central Milk Producers Co-op. v. Sentry Food Stores, Inc., 573 F.2d 988,

992 (8th Cir. 1978). “A litigant may not delay filing a motion to disqualify in order

to use the motion later as a tool to deprive his opponent of counsel of his choice after

substantial preparation of the case has been completed.” Cox, 847 F.2d at 728

(quoting Jackson, 521 F. Supp. a 1034-35).

         Measured only against the timeline of the instant action, it would have to be

said that Phillips, by filing the motion to disqualify approximately three weeks after

being served with the complaint, acted with dispatch. However, when the facts and

events of the previous action are brought into the analysis, the delay becomes a much

more substantial three years. Thus, the pivotal issue in this case becomes whether the

events from the previous action should be included in determining the “delay factor”

in the waiver analysis outlined above.


Case No: 3:15-cv-00554-MCR-EMT
                                                                              Page 10 of 14


         As SEPH details in its responsive memorandum, cases have held that pre-suit

actions or events are relevant in determining when the movant became aware of the

conflict and the amount of delay that resulted. Quail Cruises Ship Management Ltd.

v. Agencia DeViagens CVC Limitada, No. 09-23248-CIV, 2010 WL 2926042 *6

(S.D. Fla. July 23, 2010)(finding defendants waived right to disqualification because

they had nearly three months’ warning about the impending litigation yet waited six

months after the complaint was filed to move for disqualification); Concerned Parents

of Jordan Park v. Housing Authority of City of St. Petersburg, Fla., 934 F.Supp. 406,

408 (M.D. Fla. 1996) (same; Defendant knew of conflict several months before action

commenced and waited five months thereafter); In Gross v. SES Americom, Inc., 307

F. Supp. 2d 719, 723-24 (D. Md. 2004) (rejecting argument from movant that time

preceding filing of complaint should not be considered since client did not know it

would be named as a defendant, where movant spent significant time participation in

pre-suit negotiations of issues that would form the basis of the complaint). Chemical

Waste Management, Inc. v. Sims, 875 F. Supp. 501 (N.D. Ill. 1995)(calculating 21

month delay in objecting to representation from the date claims against the party were

threatened, rather than from the date when suit was actually filed more than a year

later); Jet 1, 310 B.R. at 654 (finding waiver where movant bank with security interest


Case No: 3:15-cv-00554-MCR-EMT
                                                                                 Page 11 of 14


over defendant’s assets had prior knowledge of plaintiff attorney’s conflict during an

earlier, separate litigation involving same parties, but bank did not move for

disqualification for tactical reasons).

         To distinguish the above cases, Phillips emphasizes that he was not a party to

the previous litigation, but this ignores the fact that Phillips was intimately associated

with the previous action, as amply noted by the above description of that case. In the

same sense, none of the movants in Quail Cruises, Concerned Parents, Gross, and

Chemical Waste were “parties” during the time when pre-suit activities were a part

of the overall delay. Phillips points out that, in varying degrees, the party moving for

disqualification in the above cited cases had delayed during the pendency of the

actual lawsuit, but this does not eradicate the fact that pre-suit delay was–and should

be–a contributing factor.

         Phillips’ position might be more accurately perceived as questioning not

whether he had the requisite knowledge of the conflict but whether, as a nonparty to

the previous action, he was in a position to remedy that conflict. However, the facts

and events of the previous action irrefutably demonstrate Phillips’ deep association

with HCB and his “unlimited control” over its operation. Phillips’ implication that

he could not have raised the matter of Baker’s conflict is untenable in light of this


Case No: 3:15-cv-00554-MCR-EMT
                                                                                 Page 12 of 14


information. As SEPH indicates, even assuming that Phillips could not have acted

through or on behalf of HCB to file a motion to disqualify, he could have

alternatively moved to intervene in the case, or he could have moved to quash the

subpoena that brought him further into the case as a witness. See Freedom Wireless,

Inc. v. Boston Commc'ns Group, Inc., No. 2006-1020 et al., 2006 WL 8071423 at *2

(Fed. Cir. Mar. 20, 2006) (recognizing right of company to intervene in lawsuit based

on counsel’s conflicting representation of both it and the plaintiff company);

Municipal Revenue Services, Inc. v. Xspand, Inc., 537 F. Supp. 2d 740, 743 (M.D.

Pa. 2008) (recognizing right of nonparty to move to quash subpoena on basis of

conflict in representation with counsel who would conduct deposition).

         Phillips' inaction in addressing Baker’s conflict appears to have been tactically

motivated. Instrumental in the court’s holding in the previous action was its finding

that “Phillips, a judgment debtor, used HCB to interfere with SEPH’s relations with

GulfSouth and to obtain a result, i.e., control of the judgment collection process, that

he otherwise could not have lawfully obtained for himself.”                           Case

3:13cv6/MCR/CJK, ECF No. 353 at 23. It is therefore apparent that Phillips would

have a legal interest against being characterized as essentially the alter ego of HCB,

and since raising the conflict issue with Baker might well have been seen as a further


Case No: 3:15-cv-00554-MCR-EMT
                                                                                 Page 13 of 14


evidence of that alter ego relationship, if not an outright admission, it stands to reason

that Phillips would elect not to pursue Baker’s disqualification or any similar

measure. In other words, if Phillips had raised the conflict issue in the previous

action, he would have conceded what the court ultimately found as fact.

         Because it was Phillips’ tactical decision not to raise disqualification when it

became apparent, his current filing of the motion may be seen “as a tool to deprive

his opponent of counsel of his choice after substantial preparation of the case has

been completed.” Cox, 847 F.2d at 728. Even if that were not Phillips’ intention, it

is nonetheless the result, and it is doubtless that Baker has done an extensive amount

of work in both the current and previous actions. If SEPH were forced to hire new

counsel, a substantial amount of time would be needed for new counsel to become

familiar with the case. This of course would delay the progress of the present action.

As far as the prejudice factor of the disqualification analysis, it is true that the mere

act of having to replace counsel is insufficient. Lennar Mare Island, LLC v. Steadfast

Ins. Co., 105 F. Supp.3d 1100, 1119-20 (E.D. Cal. 2015). However, because there

has already been a closely related litigation in which Baker has participated for the

last three years, prejudice is more readily found. Jet 1, 310 B.R. at 652; Kelly v.

Roker, No. C 11-05822 JSW, 2012 WL 851558 at *4 (N.D. Cal. Mar. 13, 2012);


Case No: 3:15-cv-00554-MCR-EMT
                                                                                  Page 14 of 14


Employers Ins. of Wausau v. Albert D. Seeno Const. Co., 692 F.Supp. 1150, 1166

(N.D. Cal. 1988). Moreover, the tactical nature of the delayed timing of a motion to

disqualify should be taken into account when determining prejudice. Lennar Mare

Island, 105 F. Supp. 3d at 1120.

CONCLUSION

         Considering the relevant factors in light of the above, I find that 1) Phillips

delayed bringing the motion to disqualify for at least three years; 2) Phillips learned

of the conflict no later than November 2013, and likely much earlier; 3) Phillips was

represented by his current counsel throughout the period of delay; 4) the delay

occurred for tactical reasons in that Phillips was attempting to hide his control of

HCB; and 5) disqualification of the Baker firm would substantially prejudice Plaintiff

and would further delay this case.

         Accordingly, it respectfully RECOMMENDED:

         1.       That Defendant Rupert Phillips’ Verified Motion to Disqualify Plaintiff’s

Counsel and Incorporated Memorandum of Law (ECF No. 20) be DENIED.

         At Pensacola, Florida, this 24th day of May, 2016.


                                            /s/   Miles Davis
                                            MILES DAVIS
                                            UNITED STATES MAGISTRATE JUDGE


Case No: 3:15-cv-00554-MCR-EMT
